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EXHIBIT 25
[REDACTED]
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a (cy-oMaCeit-ley iia am Rory
NW F= WV s 4 0 Ws

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Set Up Thailand Head Electrical Reliability Test

Purpose: We would like to discuss how to set up Head Electrical Reliability Test in Thailand.

Q

(J Concerns

QO) Thailand has no test capability, need to have LCO Reliability test team develop the test script and
support the set up.

Q) Can perform only product that build HGSA and drive in Korat
Q) Cost

QO) Very high cost of additional for all products from to drive assembly capability in Korat and all
supporting resources for

Or en Ai 2 @
a VEN aPAOh CORTF-TeF= merelaiice (ial t-|| Eee boYers[efe1 Cc)

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Set Up Thailand HGSA Electrical Reliability Test

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Set Up Thailand HGSA Electrical Reliability Test

QO

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Thank You

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Back Up

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Grenada RDT Pie Chart <
Grenada Failure Mode Pie Chart for past 12 weeks By DOM_WW(RDT)

Head Related Issue 21.13%

Seman a

Hard Error CND (4.23% a . a
o. ap >

a Skip Write (2 62% )!

ae Sigin-Up Timeout (2.62%)

Time Uut With OND 4 of

“NR 4 234)

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Grenada TVM Pie Chart <
Grenada Failure Mode Pie Chart for past 12 weeks By DOM_WW(TVM)

Head Related Issue 29.17%

PA BRS LCRE LY 1 c.0UR a
"Hard Etror CNO (2.08%)
| Erasure (2.08%)

| Digital AMng (2.08% )/“ "ta, ee

Degraded Head (16.67%)

"Bad White (20.83%)

ak

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Grenada Head Related failure rate trend Chart <

Grenada Head Related Failure Trend from RDT test bed by DOM Week(12 Weeks)
5 250

e +. +. v + — v — v + . 200

150

mmm Head Instability
@mmm Head Crash

2 == 100
Mmm Degraded Head
—* Grand Total
1 _ - . - . - 50
paperesl 0

OF yan | ww1232 | wwi233 |ww1234 | ww1235 | ww1236 | ww1237 |ww1238 | ww1239|ww1240|wwi241 | Ww1242
Head Instability (4 2 1 1 1 1
Head Crash | 1
Degraded Head 4 1 2 1 1
Grand Total 200 | 200 | 200 | 200 200 200 | 200 | 200 | 200 | 200 | 200 | 200

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Grenada ORT Failures Proposed Screen

SN PFLA Failing Head|/ Symp ttf(hrs) |HD_SN Proposed ing Location |Proposed $ (s) Yield Impact at Location} _Cut-In Date (Tentative)
‘S1DOHH3Y PFL-3305 1 Head Instability 53.7 ALSOBIFOV1 ET WUITA(15 max)+SGRNH_F3(1700 max) 0.08% Expect STTH cut-in on Feb7
SIFO4WRR__|PFL-3299 5 Head Instability 62.6 |ALSOMFHJLO
W1D0C9W4 _[PFL-3355 1 Head Instability 295.3 ALSO9CQBI1

eT TP_NLUMP(20 max) 0.07% Expect STTH cut-in on Feb 7
AEIREST [Erbe 1. forensics read || 2ete [ALSO Drive CERT RAW_ERROR_RATE<2.1 ~1% Paper Sort + PCO17.4

1SI SMAN_AMP_MAX > 1700 and SMANMAX_MAX_MAX > 2100. 0.39% Expect PNG cut-in by Feb 9
WIDOCAIT _|PFL-3388 i Degraded Head 162.3 ALSOEF73X1 Drive CERT RAW_ERROR_RATE<2.1 ~1% Paper Sort + PCO17.4

eT TP_PLUMP(-2min) + CTQ_NORM_NSE(0.13max) 0.38% Expect STTH cut-in on Feb 7
WIE04V4X | PFL-3125 1 Degraded Head 151.5 ALSOPNYTHi Drive CERT RAW_ERROR_RATE<2.1 ~1% Paper Sort + PCO17.4

&T TP_PLUMP(-2min) + TCO_SLN (2.2 max) 0.23% Expect STTH cut-in on Feb 7
ee ioe 2 ear teas sue IA ee Drive ADG Possibly prevent reCERT for EC10504 along with other potential ECs None Drive PE Team working Issue
Z1FOCM95 PFL-3094 2 Degraded Head 98.7 ALSOGAIIT1 Drive CERT MAX_JUMP>140 in P135_AGC_BASELINE JUMP for ACTIVE _HEATER=W ~1% Paper Sort + PCO17.4

DELTA_BURNISH_CHECK>-5S in P_AFH_DH_BURNISH_CHECK for ~ 0.19% head-level drive
Fi - . i = = oe = 7.

Z1FOELHT PFL-3232 1 Degraded BER 56.0 ALSOI2ASZ1 Drive CERT ACTIVE. HEATER=R and STATE. NAME+AFH3 and TEST. TYPE=BURNISH fallout Paper Sort + PCO17.4

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eee: eelemerelitelealtrel eee Tere [8 Fel Cs) EG
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How Much Head Related Issue on ODT/ORT <

ODT: 4 weeks MAV DPPM to ww39

Q Airwalker: 69 DPPM (1/7172 root cause is CND/NTF and 1/10544, root cause is >
CND/NTF )

Q Mantaray NL: 0 DPPM (1/6943 high noise and glitch instability, root cause is KAG) > |

ORT: AFR trend ww43

OQ Airwalker 1.30% (MTBF 670,813 hrs)» |
QO) 9/1300 ww14-26 11% (1 unit) Head failure, root cause is PM/FL
Q) 11/1500 ww27-43 18% (2 units) Head failure, FA in progress

L) Compass 10.37% > |
O) 24/1200 ww27-39 79% (19 units) are Head failures, FA in progress
QO) 5/400 ww40-43 FA in progress

(J Muskie Plus 0.97%

QO) 8/1200 ww15-26 = 25% (2 units) are Head failures, root cause is one KAG and
the other is Base line switching

QO) 12/1500 ww27-40 8% (1 unit) is Head failure, root cause is CND

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a NV Fears CORTF-TeF= merelaiice (ial t-|| eae Tere [8 Fel Cs)

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Is There ORT In Penang And RHO ?

RHO: Helen Liang
Q)

Penang: TeeYu Choo
QO

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3 NEO ORS Mec ns eur] ne oY or [ef] @

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Is There ORT In TDK And Competitor ?

Competitor:

LJ They use ISI tester for Reliability test at HGA level with hot and ambient
temp condition.

SAE / TDK: Juan Sifontes
Q)

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a VEN aPAOh CORTF-TeF= merelaiice (ial t-|| eRe) boYers[efe1 Cc)

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AMA Test Capability

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AMA Test Capability (Cont.)

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MUSKIE PLUS L-ODT DPPM, Head Related

1000

800

HE Head Related

200

Meadtcated | 15 | 0] 0] 0 | ae] 75) | 7e7 | 0 eo] 0] 0] a) eT

Total Quantity; 7986 10410 5921 7215 6872 8620 7495 $152 6251 6759 7073 7113 7510 8211 5718 8122
Failure 3 6 3 2 ~ 6 < 2 5 3 5 7 1 5 1 2
ODTDPPM| 376 576 507 277 582 696 534 388 800 acc 424 984 133 609 175 246

4Weeks MAV ODT

| See (MM Mo LoL
: dicho COPE FED_SEAG0055937

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Muskie PLUS Head Related Failures list

SAS | ZINOCAO3SW | 9¥Z264-035 | EC NBR | Degraded Head - SBQAXL
5 SAS | ZIPOMAVA | 9YZ268-035 | EC NBP | Asymmetry Head - hd 4 SBQAXL
16 ATA | Z1POMZ67 | S¥Z168-001] EC RWR [Digital AMing - hd 7 SBQAXL
" 16 SAS | ZINOFSGD | 9¥Z264-035| EC! NB Baseline Noise - hd 3 SBQAXL
J
’ 37 | SATA| ZINOGOC? | SYZ164-0 EC RW = | Degraded Head - BQAXL |!
’ 17 |SATA| Zipogszs | $¥Z168-177]| EC NBR | Digital AMing - hd 3 SBQAXL
$ ATA | ZIPOVCSO | S¥Z168-001] EC RY Digital AMing hd BQAXL
0 - Z1P1SOWS | 9YZ268 EC10807 RY AS é ead hd 2 SBQAXL
~ ZiP12QB7 | $¥Z268-035 | EC RWR | Degraded head hd SBQAXL
* ZIPIIFES | SYZ268-035 | EC10456 RWR |Degraded head hd BOQAXL
2 | SATA] ZIP13SBB | SYZ16S EC RW Degraded h ead hd 6 SBQAXL
SATA | Z 2 | 9¥Z164-196] EC13116 RY Asymmetry head SBQAXL

S Re PMU Me) oy m1) Ween a ye @
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a
AirWalker ODT DPPM, Head Related <{
1000
soo +
600 +
E m@ Head
Related
400 -
200 +
Oo r 1 r 7 1 r 1 t 1 ‘ ' ’ r ' 1
W18 W139 W20 W21 W22 W23 W24 W25 W26 W27 W28 W29 W30 W31 W32 W33 WS34

Overall ns . re s re . . re
|Faiture Pareto Ww18 | Vwv¥49 | ve¥v20 | Vewv24 | Wv22 | Www23 | W¥¥24 | Vwv25 | Vuwv26 | Wwv27 | Wwwv28 | WWv29 | WwWv30 | Vewv34 | Wwv32 | Ww33 | Ww#34! 4wks
Head Related oO 0 0 0 0 0 0 o 0 0 0 0 344 344 0 o o 69
Total Quantity 13069 | 7919 | 2949 | 1328 | 262s | 4862 | 3627 | 2653 Q 3012 | soa1 | 7172 | 10844] 11723] 5717 | 6766 | 2906 | 29122
Failure 0 1 0 0 o 0 0 1 0 2 1 1 2 3 1 3 1 &
Total DPPRA 0 126 0 0 a 0 0 37a 0 663 | i98 | 138 [ 190 | 256 | i175 [ 342 | 344 275
aveeks MAV f27 | 118 64 40 67 0 0 73 30 323 | 374 [| 263 | 233 | 203 | 199 [ 245 | 275
Trigger Limit 1500 50

(0) 5)- ui | .@ MOL e) oy me) ) 1 ten at

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AirWalker Head Related Failures list
= | in-charge _|

Week | So, ef Dae | Date
EFA ; Degraded head on hd 1 Pending CA TBD TBD EAS

1230-1 /9XG122HD |9RZ168-065 [NB.

> | Degraded head

. Failure analyiis data
1) From §M2. the drive has reported 39 G-list on surface 1
2) Scope trace show poor signal on failing head .
3) BER by zone shows poor on head |
4) There are 34 TA count on failing surface
5) MR resistance has bean change 24 Ohms.
TSI Result
The failed head Hid 1 shows slightly asymmetry on transfer corve and SMAN ncise 1
slightly high Max noise Amp bet not obvious.
MFA: Degraded head
Head FA; NPF ( Bark Jump)

1231-1 |SXFOXHJ4 |9RZ265-039 [RW |Degreaded 19h S8.m EFA: Degraded head (reader) on head 3 The following figure showed the WW35 WW36 Sowares

Head Failure analvais data whole distribetion of BER ( at fait
1) The drive failed for 01/18xx EC10496 We Ré Err Rate-Too Many Ree Errors [proc ) & BER spe id 1513 based
Test 9: Pullpack Sequential Read onall of TAs facture since

2) From ODT fog. The drive has been reported on LBA:0x28986720(681076512) to |?CO#0127 onwards
Cyl:0xB7D1(47057) Ha-0x5(5) See:0xC(12 Prodvet team collected all of TAs
3) Scope trace shows sign of head inst on head 3 failure almo

, and te till

4) Track profile and scope sector profila looks poor hava delta bie ( spe id $13 - 333
5) Poor BER ty zone on surface 3 < 14 around 8x heads . 0.1%
6) Media plot look clean. approximately of total head qty

P135 Final contact shows normal as comparison between PRE2 and retest on
§) ISI rest can captore sign of instability head.
MFA: Degraded head (reader) on head 3
Head FA; Uniform DLC with scratch angle about (-7) degree on pole tipr — —

1h] | [pe || || {p>bbb

pedi iL i) UT Me) yd) re) Peer nn @

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Mantaray L-ODT DPPM, Head Related

Mantaray NL L ODT (Combine) DPPM Weekly
1000

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<

800

600

Gam Degraded Head/Unstable
Head

—O— 4 Week MAV DPPM

Asymmetry Head 0 | #DIviol] 0

Degraded Head/Unstable Head O {advil 0

Qty Tested (Combined)

No. of Failures

WK DPPM

4 Veek MAY DPPM

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VEEN AeA0 bes

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Mantaray Head Related Failures list

Degraded Head 23h47m |Degrade Head Pending CA from Product Engineer during studying

1) From Log CST2, the drive has been reported | defect count at LBA: FECICCDI(CHS : 2CE4F 6.10) Head 6, to Optimize Speo of Max(UNVFYD_ERRS) ©

Zone 8. P109_SUM_HD_ZONE:FNC2

2 )Scope signal show noise on signal all Surface, The defect can be recovered after overwritten but low BER
(BER = 16).

3) (Sl test Shown high noise on head 6.

4) Detect map has not shown defect nearby failing location.

5) OTC normal Shown poor full track.

MF &, ‘No mechanical damage found inside the drive,

Head F4 : Head degraded; High noise & Glitch Instability

1218_01

ac TMU e) >) mo) 2) Cee a) ee eG

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Airwalker ORT AFR Trend Chart
WW1243 : AFR 1.30% (MTBF 670,813 hrs)

Airwalker Factory ORT AFR (%)
——Factory ORT AFR (%) Trigger limit

. Trigger limit

1.26%
1.01%
0.76%
oc1%

~ '

3 LCTFS-5, Degraded Head/DOIM '

tr mT EEA oak irneitya: Futons}

0.28% [STFE-S WTF(OOME Fwisze] _] LETFS-6, Wesk WritefDOM: Fwies '

To a LOTF4-3. NMDIDOM: Fwi2i4) |

LCTF4:1, Degradea Ham Fwrdis) | '

0.01% vr T Fo

~ er 7 OR MWe MveaA Dee OMOYPet GQeMtnwreWAeM®MNPRAeEHBAwM kt Be MM RA =

ARARRSERBRBRERSESLSSESSESSASEBSSELSLSESRERARRSEREREBSELSSES SE

a: ee ee ae a ee ES ee ae ee NAN HNN N NN NNN NNN HRN NNN NNN ONO OS

era aay @
FN arAO he Be lOBSt-F-Tor-| Oren (e(-181i 1) Tere [8 Fel Cs)

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Airwalker ORT Failure % Chart by Sampling Week — (WW1242)

Airwalker Stress ORT Failure % by Sampling Week
5%
CTFS-1 NMD
CTFS-3 VOW
"| CTFS-4 Written in CTF5-11 NMD
Trigger fmit |CTFS-2 Written in | aes
2 3% 4 —_— f + -
e ‘|
| 3
* oe | cTF6-2 NMO
1% +
0% 1H Ss
a 8 a g 8 3 8 8 8 8 g S 3 3 2
$8 &€ &@ @ &€ &€ € EOS OR: ORG UE OG
ORT Sampling Week
—_—b——F allure © (Completed 6wks eORT Testing) =-S=Failure *: (Current Gwks eORT In Progress) —= —=Trigger limit stress ORT

e DOM29 Onward test at Korat.

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i ie EEN arA0 he CONST -Te meen ile UTI] ale I) Tore [e fel Cs)

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Airwalker ORT Failure Pareto

Airwalker ORT Failure Pareto (FY12Q2)

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L<

Airwalker ORT Failure Pareto (FY12Q3-

Media
75%

Oct

o% RMO Cut in time -13

1x VDW- Hot Failure

SOE Further Action

(ElectiMech E-Coat action

IMotor)

0%

2x NMD - Hot Failure
Further Action

Plate to cover holes at DSI m/c cut

in time FW1222

1x Degraded head- Hot Failure
Further Action

HMRB39.6 for instability
improvement. cutin date was
postpone to WW23

1x Written in modulation- Hot
Failure

Further Action
Move DIP clean station to HAS
process backend on 11/21

1x NTF- Hot Failure
Further Action

1x FHM@17KHZ - Hot Failure
Further Action
E-Coat action

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1x CND- Hot Failure
Further Action--Retest

ix VDW (Retest) - Hot
Failure

Further Action
Retest Pass

1x Degraded Head
(Retest) - Hot Failure

Further Action
Screen out

1x Weak Write (Retest) -
Hot Failure

Further Action
E-Coat action

2x Written in
modulation - Hot Failure

Further Action
Big Cleaning on 20-Feb.

ORT TVN Fail
Sampling ony Tested zones Stress a ORT TVM Failures i
Week Hot/Ambient Failures | Cold Failures ORT Failure Wiaak Qty Tested | Hot/Ambient waite sic
FWi2i4-FWi226 1,300 0 0 j Failures
FW1227 - FW1241 1,500 0 0 1
Total | 1,300 9 Total 1,500 11
Head i — — 1x NMD - Hot Failure
25% EMEner Action Further Action
PCBA —_| Change out SS tank -~ AKL MG Modification

4x NMD - Hot Failure
Further Action

Cleaning Clamp Pick up tool &
Spacer load tool procedure.

1x Written in modulation -
Hot Failure

Further Action
Screening out.

1x NMD - Hot Failure

Further Action

1x FHM - Hot Failure

Further Action

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Factory Quality Issues (ORT) — Airwalker Suzhou/ Korat

Drive Info. | Failure Mode FA Findings Root Cause CA Remarks
Hot /Ambient Failures

CTF6-1 FHM FHM("1? kHz) on surtace 2, zone 0 Open

SXFOZNRS Failure analysis data -

03/1100 FHM("17 kH2} on surface 2, zone 0

TTF: 533hrs. Failure analysis data :

Drive loaded NThe drive was failed O3/Iixs at Step 33 - Sequential

(Fwi239) Reads starting at MO

2)From UDS log, the drive has been reported 1 failing
location on LBA: Ox0001e5¢83 Cylinder: 959 Head: 2
Sector: 1781

3)Scope trace shows sign of FHM(~17 KHz) at Failing
location.

4)Signal can be recovered by overwrite.

5)No CERT mapped defect nearby failing location
§)Retest T135 Final contact shows high delta CLR
all heads as comparison to P1935 at PRE2.

MFA status comment :

No anomalies found on retention torque reading
during HSA, tear down.

On HSA inspection under low magnification, No
contamination was observed on ABS and no
mechanical defect found.

From EFA report, scope signal show drop at failing
location. Scope signal shown sign of modulation
around failing location.

From MFA finding, both of surfaces found lube ripple
along failing track, OD, and ID zone. All of this
potentially induced by contamination.

By summary, root cause of drive failure was due to
contamination, With evidence from both EFA, and MFA,
major cause was due to contamination.

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Airwalker ORT AFR Trend Chart
WW1242 : AFR 1.26% (MTBF 693,622 hrs)

Airwalker Factory ORT AFR (%)
——Factory ORT AFR (%) —=Trigger limit

J Trigger limit
me 1.84%

1.62%

1.26%
1.01%
0.76%
0.51%
0.26%
0.019
TT TT TT TT TTT TT PT TT FT FT PF PP TT EEE ETE
—hoe OPk Se OMe oe PROP MMR MPPR AWK BYE BE BHR BSE
HNARRSESSHSHRELS TET HSS SSE =E SSSRNNARD ARB BBSBBESESER
—-_-f ef f- | fever eVfrerner eer fe - = NN WS NNN AANANNNNAHAHNTANNTNAANAA AN
oer FW

[Or Fee ai 4
FN arAO he Be lOBSt-F-Tor-| Oren (e(-181i 1) lo Ye(-WAA6) Tere [8 Fel Cs) @

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Factory Quality Issues (ORT) — Airwalker Suzhou/ Korat

Drive Info. | Failure Mode FA Findings Root Cause CA Remarks
Hot /Ambient Failures
CTF5-8 Writtenin mod |EFA Written in Mod Open
SXFIOBPS Written in modulation (3.18 kHz] on surface 3. zone 19
010300 Failure analysis data
TTF: 22hrs 1) The drive was Failed 040300 08 Write Servo unsafe fault during Step 10,
Drive loaded Butterfly In writes.
(FWI237} 2) From UDS, The drive has been reported sense key 0 4-0300-08 Write Servo

unsafe fault on Cyl:0x29758{ 169916) Ha: 0x3{3} Sec:0x0(0)

3) Scope trace shows sign of modulation{ 3. 18 KHz}

4) Track profile and SSP shows sign of written in modulation

5] No CERT mapped defect nearby failing location.

6) PES from uds shows high position error on failing track during write.

7) P35 Final contact(retest) shows normal write and read contact DAC as
comparison to PISS@PRE 2 but observed high delta write and read contact DAC on
surface 1

er Tp Ai 2
EEN arA0 he CONST -Te meen ile UTI] ale ad Tore [e fel Cs) eG

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Factory Quality Issues (ORT) — Airwalker Suzhou/ Korat

Drive Info. | Failure Mode FA Findings Root Cause CA Remarks
Hot /Ambient Failures
CTF5-7 NMD: EFA NMD Open
SXGTRM2Z? NMD on surface 0, Zone 21
ono Failure analysis data:
TTF: 772 hes 1) From UDS. The drive has been reported 1 Failing location on CHS: 159004.0.812
Drive loaded 2) Scope trace shows amplitude signal dip at failing location
(FWr232} 3) Arnplitude signal can not be recovered by overwrite
4) No CERT mapped defect nearby failing location.
5} Normal CLR.
MFA status comment :
Dn visual inspection on external, there's no mechanical damage found outside the
drive
After open top cover, no broken part or mechanical damage found inside the drive
- Scratch at PCC stiffener

No anomalies found on retention torque reading during HSA tear down,

On HSA inspection under low magnification, No contamination was
observed on ABS and no mechanical defect found.

Magnetic stress damage was found st NMD failing location (R0.579") via
Candela

Neo other anomalies observed around Failing surface and other surfaces.
AFM-MFM analysis:
Magnetic stress damage was found at NMD failing location.

Size of Magnetic stress damage at failing location is 0.7Tinm depth and

33. 750nim width,

er ee a2
a Viren ara CONST lem Orel feta] eae \e| Was) Tere [8 Fel Cs) eG

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Factory Quality Issues (ORT) — Airwalker Suzhou/ Korat

Drive Info. | Failure Mode FA Findings Root Cause CA Remarks
Hot /Ambient Failures I
CTF5-6 Weak Write |EFA\Weak write on surface 0. zone 1 Weak Write open
SKEO3VES 1) The drive was failed for sense key 43-1100 81 @Step 16, Random Reads.
o3m100 2) The drive has been reported 1 Failing location on CHS: 10617.0.1714
TTF. 34 hrs. 3) Scope trace shows amplitude signal dip about 3 sectors on failing location.
Drive loaded 4) Track profile and scope sector profile shows sign of weak write.
(Fw235) 5] Amplitude signal can be recoverable by overwrite

6] No CERT mapped defect nearby Failing location.

7) BER by zone shows poor on surface 0 [write read BER looks poor than read only
BER).

8] P135 Final contact shows high delta both WAT and AD DAC on surface 0 as
cornparison to PRE2 and retest on bench data
MFA result :

No anomalies found on retention torque reading during HSA tear down

On HSA inspection under low magnification, No contamination was observed on
ABS and no mechanical defect found, There was no obvious mechanical defect
found on MBA.

Lube modulation found all over data zone (ID/MOVOD) of Failing surface
and also at data zone of another surface of the disc. Lube modulation was found
severe at extreme OD, ID and MD zone. There was no signature of mishandling
nor load scratch found on this drive Potential cause is due to contamination.
MSL
- FESEMED analysis found a lot of CAOFISI on ABS and CRANOIS! on flexure of
both fail and contrel heads. SST400 was additional observation. Itis suspected
both heads were contarninated by Al base cast with e-coat material resulted in
head poor flyability as sign of lube pick up finally cause Weak write failure on
failing location.

HDA; Hdd Weak write, Contamination (e-coal) related

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Factory Quality Issues (ORT) — Airwalker Suzhou/Korat

3) Track profile looks poor,

4} No CERT mapped defect nearby Failing location.

5] P135 Final contact{retest) shows high delta write and read contact DAC
(Decreasing) as comparison to PRS@PRE2.

- There was Airwalker drive, SXG103ZE with SORT W'w'35 failure submitted to
MSL for further analysis.

- EFA reported Written in modulation (“18 KHz) Failure on surface 3. zone 1. No
CERT mapped defect nearby Failing location. P135 Final contact{retest] shows
high delta write and read contact DAC [Decreasing] ss comparison to PIBS@PRE 2.
- This failure drive was suspected to be related to contamination thus, HDA was
passed through MSL for Failure and tear down analysis.

~ Lube ripple on whole surface and along Failing track was found on Failing surface
‘53 while another passing surface was cleaned.

- Talcurn contamination was found on pole tip area on failed headHd3. Another
head was cleaned.

~ Particle analysis result on SXG1032E was shown in the below table (green
column). 2 and 1 Talour particles were found on HSA coil and base deck areas
respectively.

HDA; Hd3 Written in modulation, Contamination (Talcurn] related

Drive Info. | Failure Mode FA Findings Root Cause CA Remarks
Hot /Ambient Failures
CTF5-5 | Degraded Head |EFA Degraded Head Open
SXFOVGNS onHead0 = [Degraded head on hd 0
ovied2 Failure analysis data :
TTF: 180 hrs. ~Frorn SM2. the drive has reported 291 Gist on surface 0
Drive loaded ~ BER by zone shows poor on head 0.
(FW1233} ~ DC over written can not show sign of defect and can recovered by over write.
+ MR resistance is normal
~No CERT mapped defect nearby Failing location.
~ 1S result, The failed head (Hd 0) shows normal on transfer curve but SMAN
noise is high Max noise Amp.
~ The observed heads, Hd 0 shows SMAN noise is high Max noise Amp
MPA
After open top cover, no broken part or mechanical darnage found inside the drive
Media 30x VMI, No severe defect was found on top surface.
CTFS-4 Written in mod [EFA Written in Mod Open
SXG WIZE KHz Written in modulation [“18kHz} on surface 3. Zone 0
ovo300 Failure analysis dats
TTF: 708 hrs. 1 From ORT log, The drive has been reported sense key 0103 on Cylinder: 3208
Drive loaded Head 3 Sector: 230
(FW1230} 2] Scope trace shows sign of modulation write “18 kHz.

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Muskie Plus ORT Failure 12 Week Rolling AFR Chart

MuskiePlus ORT 12 Weeks Rolling AFR Chart Open
| —@=Factory ORT AFR (%) © ——UCL (MTBF:450 kin | Closed
2 50% 4
|PFL-286 Degraded head , 5/N Z1N11A99 (FW1237)
|PFL-274 OTW, S/N ZIMOAONM (FW1235) |
3.00% 4 [PFL-270 FHA, $/N ZIP 1BSM4 (FW1235) A [PFL-294 Pending FA, $/N ZIN185GY }
[PrL-257 CND, S/N ZIPT7NYH (FW1232) A [FFL-291 Pending FA, S/N Z1PTLLZA(FW1234) A
[PFL-255 CND, S/N Z1P16655 (FWw1232) [PFL-292 VOW, S/N ZINT3E6X (FW1238)
250% 4 PFL-252 OTW SN:ZIMOSM7W (FW1233) A A
PFL-253 CND SN:Z1NOMIS9X (FW1228)
[Pru-251 VDW SN:Z1NOS6NE (FW1232) | A
|PFL-248 FHIM SN:Z1P1SONN (FW1230) — |4
2 A
we
=
1.50%
1.00%

0.50%
+ 0.508 0.58% 0.58%
i 50%
045% 045% 0.45% wees
0.00% r r + r r T
1231 1232 1233 1224 1235 1236 1237 1238 1239 1240 1241 1242

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Muskie Plus ORT Failure % Chart by Sampling Week
oO
MuskiePlus ORT Failure % by Sampling Week bons
(Inclusive of ALL Ambient/Hot and Cold Failures)
8%
| [PFL-181 OTW SN:ZINODQTT_] [PFL-251 VDW SN:Z1NOSENE

7% PFL-195 Digital AM‘ing S/N :Z1

PFL-201 NMD SIN :Z1MO7L9S = CND, S/N Z1P16G55
6% - | MIPFL-213 OTW SN:ZIMO7LEB | PFL-257 CND, S/N Z1P17NYH

|PFL-216 NMD SN:Z1POMSNS | / PFL-252 OTWSN:Z1MOOM7W |

5% {PFL-225 CND SN:Z1NODQJN ; Del new tab } |__| PFL-270 FHM, S/N Z1P1BSM4
. PFL-234 Basetine Switching 5N:Z1NOHLKQ ; pet new tab nee OTW, S/N ZIMGAONM
5 4% + {PFL-237 CND SN:Z1NOL693 ; Del few tab / —]PFL-291 Pending FA, S/N Z1P1LLZA |
= |PFL-253 CND SN:Z1NOM19X _ J PFL-286 Degraded head , S/N Z1N11A99 |
3%

[PFL-292 VOW, S/N ZIN13E6X |
i —|PFL-294 Pending FA, S/N ZIN185GY

1%

0% — 7 —
ZREeERBSE ERR BRE BE EE BRR BOE RB mS SRESEE?ESEsesS
f#titg2zzt2 22 @ @2 @ Z e222 F222 FESZ2 P22 EF

eORT Sampling Week
=X % (Completed 6wks eORT Testing) eee % aren 6wks eORT In Progress)
—_—_—e = = =

er Tp Ai 2

FN ENO TFT eFC) eG

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MuskiePlus ORT Failure Pareto (FY12Q1 — FY12Q3)

skiePlus SO ilure FY1
Sampling Qty Tested Steady State
Week ORT Failure
FW1215 - FW1226 1,200 8
Total 1,200 8
Media

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L<

MuskiePlus SORT Failure Pareto (FY1203-FY1204)

Sampling Steady State
‘Test
Week yieans ORT Failure
FW1227-FW1240 1,500 12
Total 1,500 12
Contamination

17%

Pending Root
Cause

17%

Head. Media
25%

Contamination
13% Head
25%
2x OTW 2x NMD
[Closed] [Closed] ,[Closed]
ix Digital AM’ing 2x CND
[Closed] [Closed]_

1x Baseline switching
[Closed],

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OTW CND
17% 24%
2x FHM 2x VDW
[Closed]_ [Closed], [Open]_
3x CND 2x OTW
[Closed]_ [Closed].
1x Degraded Head 2x Pending FA
[Open]. [Open].

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* *
(Strictly for Seagate Internal Consumption
only) ;
Drive Info. | Failure Mode FA Findings Roct Cause cA Remarks
PFL-0291 FA Conclusion: Root Cause Open
ZIPILLZA
10407 Failure analysis data:
THF; 712.5 hrs
ii 241
RY Corrective Action
(CRX Passed
24/2/2012
(FW1234
DOM
(FVINZ36
Orive Info, | Failure Mode FA Findings Root Cause cA Remarks
PFL-0292 VoW FA Conclusion: Root Cause Open
ZINIZEEX VDW (Fly over CERT mapped defect — TA) on surface 0, Zone 1
Code & Failure analysis data;
TTF; 407.7 hrs -The drive was failed for Port Fault Code: 8 - Excess soft errors; Code = 19
WF; 1241 -From UOS, The drive has been reported 01/18/07 on CHS:2809S.0.228 and
QW -list observed Corrective Action
(CRX Passed -Scope trace shows ampitude signa! dip at failing location
8/2/2012 -Disc scape shows CERT mapped defect — TA (Amp width #312) nearby
FW failing location (~219 tracks
DOM - Signal canbe recovered by overwrite
FWw1238 ~ Normal CLR
Orive Info. | Failure Mode FA Findings Root Cause CA Remarks
PFL-0254 FA Conclusion: Root Cause Open
ZIN185G
10704 Failure analysis data:
TTF; 163 hrs
WWF; 1242
NB Corrective Action
(CRX Passed
21052612
F123
DOM
FY1240
e.

ey APs
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Factory Quality Issues (ORT) — MuskieNL
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only)
Drive Info. | Failure Mode FA Findings Root Cause cA Remarks
PFL-O286 Degraded head |FA Conclusion: Degraded head 9 [Root Cause Close
ZIN11 Degraded head on head 3 - Head degraded; high amplitude and nonlinear on Transverse Curve
10407 Failure analysis data:
TTF: 306.4 hrs -The drive aborted at LBAS62CC4FCD CHS: 620883.3.0133
WWF: 1239 -Scope signal show normal amoltude
NB -Error rate on bench showed marginal hd_3 Corrective Action
(CRX Passed -OTC plot show un-recovered read - Plat PTR Heads / Cut in WVV37
S/22012 -No CERT mapped defect close to the failing location - Spike Noise screen / Cut in W237
(FW123%6 MR resistance on bench, the result show increase (40 ohms) when compare
DOM with process test
(FW1237} (St test: Si resut show hign Pk-Pk Amp on head 2

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Muskie Plus PDMT Test Status Update (FW1240~FW1252)

Cee rag acl Bsa @elateli diets Ryser odiile-l iii ty els Me 71: Eo aT ET. ete lat amet iac melt ace
ae ato] ay Psst]

1 Ambient Load Unload Soft Room Ambient 600K Cycles with no unrecoverable Errors 65 In Progress 65x Passed |None

(ALULS 600K) Nomina! Voltage
2 Side Treck Erasure (STE) Room Ambient Spec: LOOK Writes 104 In Progress 103x Passed |None

Nominal Voltage Margin: over 100k Wates 1x Failure
No unrecoverable errors

3 Weekly Acoustic Monitor (WAM) |Room Ambient FC / SAS: 130 In Progress 130x Passed |None

Nomina! Voltage 2D / 4HD (LDD) , 3D/ 6HD (LD), 40/ 8HD (LP)

Performance Seek Mode (Bels) : 3.8bels
idie {typ): 2.3 bels

4 Altitude Audit (ALTA) Room Ambient 10K feet operating 39 In Progress 39x Passed |None
Nominal Voltage No unrecoverable errors
5 Non Operating Shock (NOS) Room Ambient Spec: 300G 2ms half sine 27 in Progress 27x Passed |None
Nomina! Voltage Beyond Spec: 350G 2ms half sine
6 Rotational Operating Vibration |Room Ambient RROV Spec: {21 rad/s2 RMS) : 10-1500 Hz 6 in Progress 6x Passed |None
(RROV) Nominal! Voltage w/20% perf reduction
7 Operating Vibration Random Room Ambient OVR Spec: 10-300Hz (1.0Grms) 300 - 3 In Progress Sx Passed |None
(OVA) Nomina! Voltage 500Hz {0.5Grms)
8 Topple Drop (TD) Room Ambient 3 axes’ drops in 4 orientations. g in Progress 5x Passed |None
Nominal Voltage No permanent physical damage on drive or
data corruption.
3 Corrosion 21 days {(Corr21D) Soak @60C / 80%RH No unrecoverable errors after soak 30 In Progress 10x Passed |None
10 =|Thermal Voltage Margin (TVM) |3 Cold/Hot cycles Temp Spee; 5°C to 55°C 48 In Progress 48x Passed |None
Temp: 0°C to 60°C Voltage Margin: 5V +/- 5%, 12V +/- 5%
Voltage Margin: Recovered Data:

5V +/- 5%, 12V +/-5% [Less than 10 errors in 1012 bits transferred
Unrecovered Data: No error

11 ‘| Transit Storage Environment Temp: -40°C to 70°C No unrecoverable errors after soak 10 in Progress 10x Passed [None
(TSE) Humidity: 5% to 95% RH
12 _|Single Head Sequential Stress Temp: 65°C No burnish related failures. Failure analysis 96 In Progress 94x Passed |None
Test(SHST) Nominal Voltage is pefonned if there is an unrecoverable error 2x Failure
oe or the delta BER exceeds 0.62 or 1.0
OO depending on products

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bre y
FW 2011/12/21 Muskie
1219 Plus
FW 2012/01/17 Muskie
1222 Plus
FW 2012/02/03 Muskie
1222 Plus
FW 2012/02/27 Muskie
1227 et
FW 2012/3/13 = Muskie
1234 Plus
FW 2012/03/28 Muskie

Plus

1232

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acrid
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SHST

SHST

SHST

SHST

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Muskie Plus PDMT : FA Summary

Z1M082SD

Z1M07Z1W

Z1M0721V

Z1P0ZA50

ZINOXHKX

Z1N007M4

N/A

03/1100

N/A

N/A

03/11FF

04/0300

ABER > 0,62
decade

30 min
random
write/read
at 65C on
OD 1/6 of
cylinders

dBER > 0.62
decade

ABER > 0.62
decade

SEQ FWD RD
AFTER
MULTIPLE
ZONE TEST
(STEP 11)

Sequential
writing at
65C

190.9Hrs

N/A

N/A

65C

65C

65C

20C€

65C

Saranyu
Laopa

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BER degradation on
surface 0

VDWifly over CERT
mapped defect —
TA) on surface 0,
zone 0

BER degradation on
surface 0

BER degradation on
surface 0

CND

Written in
modulation (8.6
kHz) on head
0,z0ne 0, high RV in
the same time that
failed un-recovered
write. suspect
external vibration,

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bt Zw he

NPF

Particle Scratch
was found at
failing location,
Size of defect is
height13.572
nm and
width429.69
nm.

Head
degraded; high
noise.

Uniform DLC
wear and light
scratch with
angle "13-14
degrees.

/

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Muskie Plus - FE Table 04/20/12
AFR [Ist Year Veibull): 2.37% ] From all fails Weibull MLE 0 _JIntegration Hours .
MTBF (Ist Year Weibull): 365K 8760 |POHIYear
Minimum AFR: 0. From zero fail Weibull @ 50% CL 0.5448 | Weibull Beta
Average Test Hours
leree Currective Fix Volidetion Saf *Feit = | _ EFF. Fecters AFR Redeced By
Action CUTE in Hewes) Failures | Attributed ta| Validated | Patentiall Palidated Patential
1 0.20% 0% 0% 0.00% 0.00%
PFL-294 Pending FA, SIN Z1N185GY (PFLITTF: 294/163)
1 0.20% om 0% 0.00% 0.00%
PFL-292 VDV, SIN ZINISE6X (PFLITTF; 292#407.7)
1 0.20% 0% 0% 0.00% 0.00%
PFL-231 Pending FA, SIN ZIPILLZA (PFLITTF: 290712.5)
1 0.20% 75% 0% 0.15% 0.20%
SPPL-026, Degraded head. SIN ZINTIAS9 Flat PTR HeadsiSpike Noise screen. | (PFLITTF; 286/306.4]
1 0.20% 100% 100% 0.20% 020%
- 016: 5 i Reran pass at 3X TTF
SPPL-016; Offtrack write Need to retest to verify (PFLITTF: 2741239.28)
2 0.20% 50% to0% 0.10% 0.20%
Manual DSP loading tools '
SPPL-025, SIN ZIPIBSM4 i ation, Eliminate Blue Mat. (PFLITTF: 270/8.32)
1 0.20% 100% 100% 0.20% 0.20%
‘ ; ; 4 Retan pass at 3% TTF
SPPL-004: CND - Hard error code Need to retest to verify (PFLITTF: 25712833)
0.20% 100% 100% 0.20% 020%
5 i Reran pass at 3X TTF '
SPPL-004- CNOD - Hard errors code Need to retest to verity (PFLITTF: 2651265 .3)
: 1 0.20% 100% 100% 020% 0.20%
SPPL-001: Aborted Command to be CND Need to retest to verity Beranpass (FFUTTF:
2539317)
1 0.20% 100% 100% 0.20% 0.20%
-016- j j Reran pass at 2X TTF
SPPL-016: Offtrack write Need to retest to verify (PFLITTF: 252119.)
SPPL-024: YDW — wie PELeTTR: 251128.14) 1 020% Tex | 10% 01% o20%
Total Failures! 11 Reduced AFR 0.967% 077%
ponding MTBF i

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Compass ORT Failure % Chart by Sampling Week For Stress"
(FW1243)

| Le CTFS+2.Hd3 Dagraded BxCTF4-22. Hd3 Degraded |
Compass ORT Failure ‘: by Sampling Week For Stess {ccop cron 77.99 Le (TFH-3 Hdl Degraded Le TF¥-2s Hdl Degraded

i i TFS vCTP4-25, VOW

1xCTF1-18,Contamination Related i | xcTFe4 Hd0 Dagraded ae
~ Hot/Ambient Failure $08 $20-0037-00 . — a ra tea Than
1xCTF1-C5 Ha issue Dec TF3-1, MED eee ee et
Cold Failure 1CTE3-2. HAO Defect | sCTF3-4, Media Scratch |_| Le CTFS=-5, Hd Degraded |! LacTF4-27,03/1100
1XCTF4« aC a Locks up =S-ORT Failure ~S5-ORT Failure p |e CTFS-10,Hd0 Degraded 1eCTF4-28,03/1100
, | ty CTR4- vegraded /1¥(TF4-29,01/2807
al {xCTF1-24 Channel Lock-up Epeeneennaninnpnnconessmanamnnmannnaines + 1s CTF eee 1s ~ : 1a "

y 1xCTF1-25 Channel Lock-up {tie CTF22, MSD tesue | LecTARS, NMD x CTF4-12,Hd3 Degraded | LxCTF4-35,03/1100
ixCTF1-19,4d2 Detect ~oiamblent Faure | 11x CTF2-3, MSD issue —5-O8T Failure | dx CTF4-13,Hd1 Degraded — ————
—HotiAmbieht Failure 9 -------ge-=-----20-2n-c1 le - Hot/Amhient Failure CTR 3.N0 pensh ie vabaia (SOFT Failure | | Ls F4-30,01/1902
1XCTF1.20, Degrade F xcTFt- 26 Bert Lite Tab 1CTF3-6,IMD Seay pe ee LecTRS-As hing oT 31,03/1100

i¢nt Fail 1eCTF3-7,1 1eCTF-S, MD | oe
-- Hott Failure -- Hot/Ambient Failure SORT Failure E 3 |-SoORT Faillire, | XCTF4-32,03/1200

Th FAC TFA -27 Pipe Detect(Preamp) : ee aia Cae ae EE uuctrs-36.03/1100
# txCTF1421 | Channel Lock-up [== HotiAmbient Failure . q eC TF3-12. HID as | LCT. 17 MD LSAORTFailine.
& .-- Hotlmbjent Failure rae ame — InCTF2-4, HS Erasure | VeCTF3-10, MID opr eaitury _ {| ICTF419,Hd3 thi
Steno b ad oa ----~- - 1XCTF1-28 Hall Deg La Hat/Ambient Fal —5-OFT Failure t 5-ORT Fail
f AxCTFie24 Hdd A -.. HobAmbient Failure Hot/Ambient Failure | : 1 | ilure
Degrad coe ttl]
-- Hotimbient Failure es [_[perre2o. na
riggerXLimit IxCTF1-29}Ad0 Deorade regger Umi ecTRSS HAT CLE | gcctrgetmicScORT Failure |
3% -- Hot/Ambient Failure LACTF-1NVGW Hab | sop Failurefe ttn Te: CT r4-21, HdS Degraded
} A <CTF2+1, Zipper Detect | —S-ORT Fallure INCTFS-15, Hd3 Degyaded ||-S-ORTFailure
on -- HotiAmbient Failure ‘ Ph TS | sont raiture comiiitans
= | LCT FS-33, MD
1% ami pe Linnie i a - id - a
I LACTFS-3, HID Le TF4-23, Hd Degraded
: 1xCTF4-14,H2 Degraded LCT R4-34,V0W
6 : t : T* raat Ft ae SRT Fsiltive et tee

UuUrROKROANKMAH UR DOADOAAH AAT AN HMEAUHY VUROBDOAANHAHHORAKHRDOANHAHURAHAANMAHHORDAHAGANMA HY

manmnmoePrgesesgerterseereettetegeuMHM MOO oO GB oO oO oO BO BO Kh KR HR H HHH FH NHN N NNN NNN HMM heehee atthe ata St

A AeA Kt KK RRR KR RH KK RN NNN NNN NNN NNN NN NNN NN NNN NR NNN NNN NONN NNN ONNONONONONN

Fee ee ee eo ee ee eee ee ee ee ee ee ee ee ee eee Oe RT Seo Se ese eS

eee eee eee eC EEE EER TEE TEETER ETE TESTER EEE TETET EEE TEESE TEE LE?

_— *
~ a ORT Sampling Week Cold Failsin Blue * Denotes RW Samples

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c. FN arAO he Be lOBSt-F-Tor-| Oren (e(-181i 1) i Tere [8 Fel Cs)

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Compass ORT AFR Trend Chart — (FW1243)

CTFI-IS,Comtmhation Relved Moc tation lawn ! - Stress ORT fron 10.37%
(ISHS (DOM: FYVIIS2) :
_feTress.vow -_
- Hotambk at Fallare CTF2-1 Lipper DekctDOMFWIDh STE LOS pM iD
CTFIACS, Unstibk Hd3 (DOM: FYvIIS3) |- HotAmbbotFallere OTF 4-27 001100
- Cold Failure OTF 423,001 100 8. *
“ 4 OTF ADS 01/1807 CTF4-16,NMD
TA CTR INS. TGA keae tr Haz (DOM: FUVIIS2: CTF 0011e02 CTF4-17,NMD
: ~ Hotgmbk at Fatiare ha maton -S-ORT Failure
| t CTFL33,NMD |
S51 [OFF I-c Preqmp DetctP pe Detect CTF4-34, ow OTF H-10,HO Degtackd
. ‘ FAIS = an CTF4-35,.03/1100 H3Deqrakd = |OTFe1H1 Degrakd
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Compass ORT Failure Pareto (FY1203/FY12Q4) — 1* Quarter into Production (SAD in
Sampling Oty Tested ea Steady State Sampling RTM Fationes Steady State
Week , Hot/Ambient Failures Cold Failures ORT Failure Week Qty Tested Hot/Ambient Failures Cold Failures ORT Failure
FW1227-FW1239 1.200 24 FW1240-FW1243 400 5
2xNMD 1xNMO
12xHead Degraded 3x03/1100
3xNMO 1x01 /1807
a 2xHead Degraded
Stress ORT From FW1214) SNM Stress ORT From FW1214!
IxHead Instability
Ix€rror 01/1807
4xHead degraded
Total 1,200 “4 Total 400 5
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Factory Quality Issues (ORT) — Compass Suzhou

Due to CFT4-25~CTF4-36, All drives still pending in FA. So no details
formation can be updated.

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<_ Wee ar0h a (ORST-F-lof-l(-mexelalire(-valit-]| eee (ed TF Te Fe)

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Factory Quality Issues (ORT) — Compass Suzhou

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Factory Quality Issues (ORT) — Compass Suzhou

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Factory Quality Issues (ORT) — Compass Suzhou

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Factory Quality Issues (ORT) — Compass Suzhou

Dive if, Finding ot Ce ( Remar
Hot Ambient Failures
CTFA-D1 Suchou Elect Fh H Degraded Pending in Head FA Open

GXS2OGYA No roma chee sepe
nh

THF: 35 dhrs.(2Htb pow bench BER
hl No anomaly obgenedinT135 clearance
el

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uchou . ;
No anomalies found

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Factory Quality Issues (ORT) — Compass Suzhou
Drive inf, FA Findings Root Cause cA Remarks
Hot /Ambient Failures

CTF4-20 {Suzhou Elect FA NMD Corrective Action Closed

6XR{Z2W3 |1,Bulld Type RW. Line: 106, SBR'STD, No anomaly observed by 1, Supplier perform spacer double washing

03/1100/81 |W inw2
TTF: 720hrs 203/11 can be reported while reading falling location and its 2.Add dhs (2xlooper} sequence

Ry adjacent track 171181. Amplitude drop can be observed @ CHS readytwnte venty in CUT2
“171180,2,380 BFLS17631 wedge:432 i can't be recovered after 3Add 0 Shr random wntelread in FIN2
DOM (VMI) joverrtng A nereage CSS looper fom 25x to 40x
(FW1233) _|3No anomaly observed in PRE? clearance data MQM2

4NoTA and cert defect are closed to falling location
SEFA Conclusion: NMD_S2 2n30.

Suzhou Mech FA

MSD

MSL

MSD

Add Full pack Sequential venfy in MQM?
Done by FW1236

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Slider Reliability Test (ESD stress)

Elaborated with Boulder Platform’s Baseline data.

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Test Description and Results

Goal: To determine Boulder platform ESD Via baseline using CDM, VZAP, HBM and MM module.

Parts used for experiment:

Test Method:

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ESD Test Algorithm

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ESD Test Algorithm

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Boulder ESD Results Tables: © Seagate Confidential

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«| 4|@|/a| a8 & FS «| 2|c|a| a| e 8
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ae > => = > = > & UD > > > > = > =
F count 10 20 0 62 62 O 120 6 count 50 48 4 43 66 0 127
-Q ©. initial passers 121 > ©. initial passers 128
o |! faction 8% 17% 0% 51% “2 II fraction 39% 38% 3% 34%
> ag 3.96 3.68 HHH 3.32 > aw 1.72 1.73 1.88 1.37
= |= sid 0.46 0.47 HHH 0.64 = std 0.2 0.21 0.1 0.38
LL. max 48 48 O 47 LL max 22| 2.2] 2) 19
min 33 3 0 06 08 O 06 min 13°13 18 03 141 O 03
avg - 3 std 2.57 2.29 HHH 1.4 1.45 HAE 1.418 avg - 3 std 1.13 1.11 1.59 0.21 0.83 ##HHt 0.594
Tested 175 Tested 173
Avg. Res 277.81 ohm Avg. Res 272.80 ohm
Avg. Amp 7601.34 uV Avg. Amp 7587.11 uV
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© count 99 96 47 10 95 O 113 © count 8 87 44 8 8 O 99
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wo x fraction 88% 85% 42% 9% 84% 0% 1009 ll \fraction 85% 87% 44% 8% 83%
=l|> »w 14.5 14.6 16.2 4.75 14.7 HH > ag 6.49 6.63 7.15 4.19 6.74
o std 5.67 5.75 5.86 4.04 5.79 HH & a std 285 2.97 3.19 4.01 3.04 HHH S474
LL max 30, 30 29: 14 «300 (0380 LL max 15.5) 15.5 15.5/ 12.5) 15.5) 0} 15.5
min 7 7 7.5 O05 7 0 05 min 3 3 05 1 1 Oo 05
avg - 3 std 25 -27 -14 -7.4 -2.7 HHH 5 avg - 3 std -2.1 -2.3 24 -7.8 -2.4 #HHE -3.12
Tested 171 Tested 159
Avg. Res 269.18 ohm Avg. Res 269.18 ohm
Avg. Amp 10167.52 uV Avg. Amp 9685.30 uV
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ESD Results: V;.i vs Resistance

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Vfail Combo

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INFO_SBR--FAIL_CODE

CDM O 1-Res
HBM + 2-Amp
MM > 3-Pol
VZAP * 4-SNR
A 5-Popcom

———~Smoothing Spline Fit, lambda=100000 Test_Count==1
~~ Smoothing Spline Fit, lambda=100000 Test_Count==2
~~ Smoathing Spline Fit, lambda=100000 Test_Count==3

Smoathing Spline Fit, lambda=100000 Test_Count==4

Viai does not appear to be strongly resistance-dependent

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ESD Overall-V;.i Level Module ““""""™"

FAIL_CODE
O 1-Res
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> 3-Pol
8 X 4-SNR
< A 5-Popcorn
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CDM HBM MM VZAP Each Pair
INFO_SBR Student's t
0.05
Means and Std Deviations
Std Err
Level Number Mean Std Dev Mean Lower 95% Upper 95%
CDM 120 3.3508 0.64417 0.05880 3.234 3.467
HBM 113 13.5177 6.17126 0.58054 12.367 14.668
i MM 99 6.3990 3.17434 0.31903 5.766 7.032
or VZAP 127 1.5291 0.31171 0.02766 1.474 1.584

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Viaii Level by Res/Amp or Stability

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Summary of Extensive Discussion:

*RHO: Alan Johnston, Chad Barry, Elzbieta Haftek, Helen Liang, Hongtao Zhu, Jay Loven, Kristin Duxstad, Mark Re,
Mohammed Patwari, Scott Stokes, Wayne Bernard, Yonghua Chen

TCO: Ghassan Abdelnour, Carmen Guinta

*Asia Engineering: Chaiyut Pongtrongjit, CingSiong Lim, Jeff Nygaard, KeanCheong Oh, Peerapong Pimolphan, Roong
Sivaratana, Sirirat Euaypadung, Sombat Pongtirasuwan, Supot Soommat, TeeYu Choo, ZeeYee Chew

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Head Instability Improvement Strategy

* Near Term — Released Products Instability Issue Containment
« |Improving Testing and Control Process — to effectively assess and manage the existing
design margin
= Testing: where & what to test
* Control: managing unwanted stressors
* Longer Term — Development Products on Stability Margin Improvement
« Improving Development Process — ultimately to improve the design margin
* Technical: effective learning and feedback process to design

= Business Process: focused ownership to deliver design margin that meets the product head stability
requirements during development stage

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Near Term on Release Product Instability Containment — Improving
Testing and Control Process

« Priority:
1. Contain the issues
2 Explore more efficient way to contain the issue

» Testing: where & what to test

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Head Instability Issue & Strategy

Strategy Proposal

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Notes:

>  Itis known that HSA level tests or screening has cost / capacity concerns. This effort should eventually lead a more
effective way in component level screening

> Bar level ISI tests / screening vs drive tests correlation has been explored multiple times and shown limited effectiveness
due to too many process steps in between the two stages.

> There has been observations of changed reader metrics after BAR level ISI testing which indicating reader stressors exist
in current component processes

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Establishing HSA Level Stability Test Control

Notes:

¥ QST (Quasi Static Testing, ISI + SMAN) providing fundamental physics based reader quality characterization will be used as the primary tool for reader
instability assessment.

> HSA ISI proposal here can be served either as a bridge to establish the better screening at bar IS| & HGA ET or as a permanent tool to contain instability

issues at component level .
>  6-Sigma black belt support will be needed to finalize the plan here

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HSA Level Stability Issues Flow Down

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Component Stability Tests Optimization

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Longer Term on New Product Design Margin

Improvement — Improving Development Process

" Technical: effective learning and feedback process to transducer design
» Design component level full evaluation
» Drive FA

» Business Process:

= Goal has to be providing sufficient head instability margin during development stages

» Enhance RHO development team’s sense of ownership on head instability during the
development stages

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Transducer Reader Design Feedback Process

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Reader Development Related Business Process

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Backup

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ISI: Production vs. FDB vs. Stress Test <|

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Upstream Test Detection
(UTD) Study

- Electronic components and PCBA

IngMing Ooi, Chris Farnell, Yue Ma

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Goal

¢ Establish good correlation between component and drive level test.

¢ Detect more latent issues in upstream test, finding and solving problems in earlier
stage.

¢ Involve suppliers to further control component quality

Project Proposal:

¢ Review component tests to find gap between component and
drive level test

¢ Improve current or develop new component level test for
better simulating drive usage in field

¢ Work with suppliers to implement the new test routine in
upstream

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Test items reviewed

* Power management
+ Power margining
+ Power cycling
* Servo control
* Seek (Long Seek, Random Seek)
* LUL/CSS
Write/Read operation
* Head Switching
+ Heater Protrusion
* Multiple WR
* Write Pattern

Environment impact
* Temperature
* Humidity
* Altitude
* Shock & Vib

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Power Management:

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Servo Control:

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Write/Read operation:

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Environment impact:

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Thoughts on supplier reliability test

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> OBA (Outgoing Bag/Box Audit)
> ORT Cleanliness

> Reliability

> Process Cpk

> GR&R and Correlation

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> OBA (Outgoing Bag/Box Audit)

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OBA RULE

QA is responsible for OBA;

All parts can not be shipped to customer
without passing OBA;

The whole lot must be sorted or scrapped
once failed OBA;

SAE sends OBA trend data to customer on

weekly basis.

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OBA — Grenada
OBA Summary
Program Grenada Consign wafer
OBA Wk48 UP Wk48 DN Wk49_ UP Wk49_ DN

Lot Inspect 1 1 1 1
Lot Reject 0 0 0 0
= Reject 0 Oo 0 0
DPPM 0 0 0 0
Lot Inspect 1 1 1 1
0
LG 0
0

2A7T7
1
0
PSA 0
0

1.420
Wee Powe z Z z 1
Lot Reject 0 0 0 0
RSA Reject 0 O Oo 0
DPPM 0 0 0 oO

iene CPK 2632 2.639 2438 2619

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OBA — Grenada

OBA Mechanical Spec

OBA spec LSL USL Target
LG 230 2.70 2.50
PSA 87 165 126,00
RSA -39 39 0.00

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if ” ENO Tor Te Fe 1c) eG

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OBA RESULT — Grenada OBA Visual
Visual
Grenada HGA OBA Yisual Inspection DPPM Trend chart
Lot No. Wk4s_UP Wik4t_DN Wk49_UP Wik49_DN
Inspected Qty 1 Ps 1 1
Rejected Q'ty 0 0 0 0
Lot Rejected
Comtanmation on slider side vrall
Faibre | Comtamimation on suspension
Description
oO
_
DPPM Target
3000 -—
2500
2000
1500
1000
500
0
es Wk48_UP Wk48_DN Wk49_UP Wk49_DN
oe he at

ma er ee a2
Ts seosd NEN eek 4 Tor Te Fe 1c) eG

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Grenada consign wafer OBA LG data trend chart
Lot No. Wk43 Wks9 a =
Mean_UP 2.501 2.504 ——EE ee
Sigma_UP 0.026 0.024 2530
Max_UP 2.560 2.550 2520
him_UP 2.440 2.450 2510
Cpk 2.526 2.720 2.500 ~~
IMem_DN 2.502 2.500 2490
Sigma_DN 0.020 0.027 2480 —e— Mem _UP
IMax_DN 2.540 2.580 2470 <= aes eae
IMim_DN 2.440 2.430 2460 =
Cpk 3.274 2.497 2.450
LSLf&) 2.3 23 Whk4s Wk49
USL 27 27
os bes A
ei “i
Grenada OBA LG Sigma
on6a
oosa
ooso
0030
—,._§
oo20 | m= 7
oolo | —~e—Sigma_UP
0900 = @- Sigma_DN
Whk43 Whk49
a zat
™

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OBA RESULT — Grenada OBA LG Distribution
LG_UP LG_ON
No 136 No 136
= x Mean 2.50 Mean 2.50
i 1 StDv 0.025 St Dv 0.024
i Min 2.44 Min 243
F i Max 2.56 Fs Max 2.58
r i Range 0.12 r Range 0.15
c I c
4 i LSL 23 4 LSI. 3
! USL 27 USL 27
. I % in Limit #3 % in Limit
: ! Count 100,00 : Count 100.00
5 i Cale 100.00 Cale 100.00
1 CP=T/6s 2.65 CP=T/6s 281
j CPK=Z/3 2.62 CPK=Z/3 2.20
i <M-L>'s 8.03 <M-L>’s 8.48
<U-M>/s 7.86 <U-M>/s 8.40

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Grenada consign wafer OBA Pitch data trend chart
Lot No. Wks Wg — aa a ™~
Mem_UP 113.860 113.257
Sigma_UP 6.465 6.308 1300 -
Max_UP 123.770 128.400 1250 +f
hMim_UP 100.750 100.010 1200 }
| Cpk 1.385 1.388 1150 + .— =
Mem_DN 112.357 114.325 1100 }
Sigma_DN 6.253 6.413 1050 +}
Max_DN 129.200 128.330 1000 + —e— Mean_UP
MMin_DN 95.210 100.730 950 | saa as aa eae
Cpk 1.352 1.420 900 . ‘ =
LSL@& $7 87 Wk4s wWk49
USL) 165 165 Rs J
- : ™~
Grenada OBA Pitch Sigma
1S0 ¢
130 +
119
90
72
50 —-s—Sigma_UP
30 = @ - Sigma_DN
wik4s Wk49
Ne iw
™

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Grenada consign wafer OBA Roll data trend chart
Lot No. Wk48 Wk49 ee Grenada OBA Roll Mean a
Mean_UP -12.705 -10.728
Sigma_UP 3.331 3.865 30
Max_UP -4.980 -3.950 -20
Min_UP -20.760 -18.240 -70
Cpk 2.632 2.438 190 3 --—«
Mean_DN -11.360 -11.428 170
Sigma_DN 3.492 3.509 en —— Tie _UP
Max_DN -4.800 3.140 a7 - @ - Mem_DN
Mim_DN -18.140 -20.050 :
Cpk 2.639 2.619 LL =
LSLimim) “39 -39 -39 -39 Z
USLénin) 39 39 39 39 fe Grenada OBA Roll Sigma
150
125
109
75
50
25 = * —e—Sigma_UP
on 4 i ane - @ - Sigm_DPN
Wik4s Whk49
Ne -

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OBA RESULT — Grenada OBA PSA/RSA Dist.

PSA_UP PSA_DN
-” No 136 ae No 136
4s | 38 s 3 Mean 113.36 is | 28 a s 2 Mean 113.44
it 1 St Dv 6370 | ' i \ St Dv 6387
aol i i Min 100.01 Ewa i j Min 95.21
-—— 38 i — i Max 128.40 38 i i Max 129.20
r ! ! r ! |
« ' 7] i Range 28.39 “ ' | Range 33.99
30 i i 4 30 } i i
4 ! 1 ! !
u 25 ' ! LSL 87 w2s | ! ! LSL 87
e ' ! USL 165 e ' | USL 165
ay ' ! % in Limit n 20] ! | % in Limit
e 4s ' ! Count 100.00 cys | ! } | Count 100.00
y ' ! Cale 100.00 y ! ! Cale 100.00
10 ' — ' 10 | ' !
; j i CP=Ti6s 2.08 st | CP-Tiés 204
| il j CPK=Z/3. «139 ol vere i CPK=2/3 137
<M-L>/s 417 : ; <M-L>s 4.12
sggagsiggasagssasgasdsas <U-M>/s 808 sesdeaggasggsieggasseas <U-M>/s 8.09
RESESSSSTSRRSSTISESES RESSSSSSTZRESTTBSES
RSA_UP
7 No 136 a0 No 136
z & s 2 Mean -11.72 3 3 Mean -11.39
Or y ' 1 t St Dv 3.729 oor | t St Dv 3487
RS A y i : ; i Min -20.76 ’ i i Min -20.08
‘ 30} | : : ' Max 3.95 7 so} 1 Max 4
ele i ! i i Range 1681 . i i Range 1691
yao} t i i t qto} ! |
. I i i I LSL 39 a ' i LSL 39
eso} | i i ' USL 39 eso} 3 ' USL 39
a | i i ' % in Limit 7 ' ' % in Limit
vay | i i ! Count 100.00 ign | ' ! Count 100.00
yt a : : ’ Cale 100.00 mT ‘ Cake 100.00
! i ! ! | !
or i i i CPs 3.49 oy i CP=Tiés 3.73
j i i CPK=2/3 244 i CPK=2/3 2.64
eld ues : i Li i
4 <M-L>/s 732 o M-L>'s 792
esesaskessskesasaessees aims 130 aa 88  <uMes 1445
SIRSRNSSPTS $F SSE ness 2¢ $3

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ORT — Cleanliness
> Seagate Method [HGA]

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ORT DATA SUMMARY — Seagate Method [HGA]

> Using Seagate Method, HGA ORT Cleanliness (IC, LPC, NVR-FTIR, and DHS-
Outgassing), Grenada passed specification.

Seagate | Sample Ic
FE cl NO2__|Br NO3 |PO4 =|SO4_ |Total [Li |Na NH4_ |K Mg Ca Total
Program Spec 0.02 0.07 0.05 0.02 NA 0.05 03 0.35 NA 04 02 0.5 O15 0.10 0.70
= ? ug/em? jug/em* jugfem? lug/em* ug/em® jugfem? |ugfom? ug/em® jug/em? |ug/em*|ug/em* |ug/em? jug/cm*
Grenada ND 0.001 | <0.001 | ND ND | ND 0012 | 0013 | ND | ND 0.001 | ND ND ND 0.001
LPC-# ofparticles DHS Outgassing
Seagate | Sample brie a sn NVR/FTIR - ug/em? ua
Methed | Buil
O3um [OS5um |20un__|NYR FTIR Total
Seagate spec is 50k for0.3 Dilicone Oils or
> <
Program [Spec (Note: Only dip the head) NA =0.02 Hydrocarbon |<2500
Grenada 7104 1983 25 0.39 ND 0.017 121.6

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ORT DATA SUMMARY — Seagate Method [HGA]
> Using Seagate Method, HGA Seatape Grenada passed specification.
AVMe/ avty| = | ti
esp Total [| AVO |" 6, [carbide] oan, | THO | WIC | CHO | 210
{nitrite
0 0 0 0 0 0 0 0 0 0
FefCx| Fe/Cx/|
Semi | Total | NUP |Nibase| ST |NiSST aan
hard 400s) | 300s)
02 0 0 0 | 02 0
Magne Hangs Magne mange
Total |. - ets ie tic :
Magnetic tic: Nd NuFe tic : Sm 7
0 0 0 0 0
4 Sn/Pb AUN | CwZn
Total] AVSVO | Nb | Silver | So | oo | tlle] oO | tease
Other 0 0 0 0 0 02 0 0
02 sulphur base|Ca base| Na base | K base Zn ey Clbase nomen
base Al
0 0 0 0 0 0 0 0

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ORT DATA SUMMARY — Seagate Method [HGA]

> Using Seagate Method, HGA LPC-HPA Grenada passed specification.

Total | AlMgO | AlO | AIOTIC | CrO | NbB | SiC | SiO | TiB | TiC | TiO | TiSn | Ti¥ | WC | Z1C | 2:10
Hard Particles
3.00 3.00
Total | Nd based | Sm based | Sr based
Magnetic Particles
0.00
Total | SST300s | SST400s
SST Particles
2.00 2.00
Total | Agbased| Albased | Au based | Cabased | Cubased | Febased | FeO | AlFeO
Metal Particles 5.00 2.00
70 MnCrs | Nibased NiP Ptbased | Pb based | Sn based | SnPb | Zn based
Total | AINiO | AISiO | Clbased | FeMgsiO | MgCaO | MgsiO | Mixed Silicates | S based
Other Particles
1.00 1.00

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>Reliability
HGA Grenada

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Grenada HGA Reliability Qualification
Tiem Requiremnt Method Criteria Sample size Results
D-MRR<5%
MRVMWR check D-MWR<lohm 50 sets Passed
Thermal shock=> 30 mins |200x Visual check no crack/delam 50 sets Passed
1 @ -40°C, 30 mins @ 12 5c |SBB SEM no crack/delam 10 sets Passed
100/300/500 cycles SBB X-section and SEM —= [no crack/delam 10 sets Passed
SBB shear strength Pass spec 10 sets per cycle stop Passed
Potting shear strength Pass spec 10 sets per cycle stop Passed
200x Visual check, Pole no crack/delam, no a gate wes dey
area-1500x corrosion corrosion
D-MRR<5%
pereenes QST MRR/Amp check D-Amp<20% 50 sets Passed
amber- High temperature
2 Sepeatices (amt euiaae 50 set Passed
25% RH 100300500 ho — 7 7
F a SBB SEM no crack/delam 10 sets Passed
SBB X-section and SEM — [no crack/delam 10 sets Passed
SBB shear strength Pass spec 10 sets per hours stop Passed
Potting shear strength Pass spec 10 sets per hours stop Passed
200x Visual check no crack/delam 50 sets Passed
3 10x 40 wash D-MRR<5%
MRRMWR check D-MWR<lohm 50 sets Passed

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Thsesnal ahinile Before reliability After 100cycles After 300cycles After 500cycles Detla
mene went MRR_| MWR | MRR | MWR | MRR | MWR | MRR | MWR | MRR | MWR
Mean 289.15 7.19 237 84 37 290.32 7.37 289.10 7.37 0.02% | -0.025
Sigma 31,52 0.21 29,82 0.22 32.45 0.21 31.58 0.22 0.00 -0.03
Max 366.30 7.70 373.20 7.90 362.90 7.90 359.20 7.90 194% | -0.026
Min 220.30 6.50 218.90 6.60 222.20 6.70 216.40 6.70 1.77% -0.031
Disposition Passed | Passed
All samples PASSED

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eh ap4 O

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No crack, no delam, no abnormal, PASSED

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RELIABILITY — HGA Grenada

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me NEI. 4 Tere [8 Fel Cs) eG

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RELIABILITY — HGA Grenada

Before thermal shock

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After thermal shock

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sll NEI 4 ST=Fe Te Fe eG

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RELIABILITY — HGA Grenada

Thermal Shock Test: SBB Shear Strength

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A&B mode% | Pad2 | Pad? | A&B mode%

Thermal shock
Pad? Pad? | A&Bmode% | Pad? Pad? | A&Bmode% | Pad? Pad?
Mean 57.65 56.75 55.55 54.55 538 54.15 52.6 546
Sigma 8.83 8.70 8.77 8.25 6.72 7.45 7.85 8.641
100% 100% 100% 100%
Max 71 72 69 71 65 71 64 79
Min 43 45 44 42 38 43 37 4

No sample fail in SBB shear strength test and all can meet SBB spec; Passed

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All samples PASSED

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RELIABILITY — HGA Grenada

jock Test: Potting Shear Strength
Thermal shock
Pad2 | PadS | A&Bmode% | Pad2 | Padd | A&@Bmode% | Pad2 | PadS | A&@Bmode% | Pad2 | Padd | A&B mode%

Mean 290 288.3 287.8 | 286.55 2818 | 280.85 276.1 | 273.05

Sigma 35.25 | 35.99 37 Al 59.52 36.39 | 51.02 4.70 | 39.05

100% 100% 100% 100%

Max 355 380 364 391 383 41 368 352

Min 208 230 216 187 208 190 193 162

No sample fail in Potting shear strength test and all can meet Potting spec: Passed

All samples PASSED

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RELIABILITY — HGA Grenada

No crack, no delam, no abnormal, PASSED

No pole corrosion, PASSED

er ee a2
Saeal? NEN eek 4 oY or [ef] @

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RELIABILITY — HGA Grenada

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Delta
maahe | uae | Ame MRR | Amp MRR | Amp MRR | Amp MRR | Amp
Mean 293.58 | so739 | 29459 | 871054 | 29554 | 976227 | 29144 | 264233 | 073% | 19%
Sigma 440s | 260904 | 4415 | 272001 | 4390 | 255735 | 4437 | 271997 | 180% | 42%
Max 424% | 190757 | 4296 | 189997 | 4265 | 203023 | 4338 | isai7i | -213% | -19%
Min 2054 | 40795 | 214 | 38574 | 2065 | 3724 | 2038 | 39703 | O77% | 51%
Disposition Passed | Passed

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All samples PASSED

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RELIABILITY — HGA Grenada
Chamber Test: MRR/MWR
MR-R/AMWR
es ets

Chamber

MRR MWR MRR MWR MRR MWR MRR MWR | MRR MWR
Mean 301.867 | 7.201 301.318 7.38 302.152 | 7.365 | 299.811 7.382 0.68% | -0.025
Sigma 30.434 0.177 31.591 0.186 29.917 0.186 31.052 0.178 -0.02 -0.01
Max 380.3 76 3819 78 S12 78 376.5 73 1.00% | -0.026
Min 233 68 227 6 7 239.4 69 228.3 7 2.02% | -0.029

Disposition Passed | Passed

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All samples PASSED

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RELIABILITY — HGA Grenada

No crack, no delam, no abnormal, PASSED

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RELIABILITY — HGA Grenada

Before chamber test

After chamber test

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RELIABILITY — HGA Grenada
Chamber Test: SBB Shear Strength
SBB Shear Strength-Chamber
Chamb ame
"| Pada | Pad? | AGB mode%/ Pad? | Pad? | A&Bmodey| Pad? | Pad? | A@Bmode%/] Pad? | Pad? | A&B mode%
Mean 57.05 53.05 55.80 5475 53.10 53.55 5435 53.25
Sigma 8.74 9.02 8.44 8.12 8.01 8.22 8.63 759
0% 00% 0% 100%
Max 7400 71.00 71.00 70.00 65.00 72.00 72.00 66.00
Min 42.00 45.00 | 37.00 4400 / 37.00 40.00 | 43.09 | 41.00
or

No sample fail in SBB shear strength test and all can meet SBB spec; Passed

All samples PASSED

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RELIABILITY — HGA Grenada

Chamber test: Potting Shear Strer
Normal ee

Chamb
= UP DN | A&Bmode% | UP DN | A&Bmode%] UP DN | A&Bmode% |] UP DN | A&B mode%
Mean 291.25 | 294.05 285.85 | 287.05 283.00 | 280.25 273.65 | 273.95
Sigma 44.16 33.61 45,38 40.59 30.66 42.49 49.51 41 38
100% 100% 100% 100%
Max 377.00 | 357.00 378.00 | 364.00 344.00 | 352.00 354.00 | 379.00
Min 204.00 | 217.00 210.00 | 222.00 216.00 | 198.00 178.00 | 208.00

No sample fail in Potting shear strength test and all can meet Potting spec; Passed

All samples PASSED

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RELIABILITY — HGA Grenada

No crack, no delam, no abnormal, PASSED

Before reliability After reliability Delta
Zz MRR MWR MRR MWR MRR MWR
Mean 304 566 7.2001 303.485 7.3787 0.35% -0.025
sigma 29 943 0.211 30.740 0.206 -2.66% 0.020
Max 376.4 7.76 373.7 7.94 0.72% -0.023
Min 199.1 6.76 203.4 6.95 -2.16% -0.028
Disposition Passed Passed

All samples PASSED

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>Reliability
Slider Grenada

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RELIABILITY — Slider Summary <

Seagate program - Grenada slider reliability qualification swmmary

Ttem ment method Criteria Sample si/Resulis: Reject |Disposition
- Serious type < 5% 0% Passed
- Slight type < 20% 0% Passed
; - Scratch < 2% apa 0% Passed
- Pinhole < 30% 0% Passed
orroson % No corrosion under 0% Passed
2 Ls pes
RR shift rate % < 5% P 0% Passed
FPP Drop rate % = |< 20% 0% Passed
Before reliability After reliability Delta
Slider Chamb
awenamet | MRR | MFPP | MRR | MFPP | MRR | MPP
Slider reliability Mean 266.0 9263.6 266.0 9245.6 0.02% -0.002
is passe d sigma 36,2 33427 37.0 3344.0 2.11% 0.005
Max 360.1 18507.0 359.3 185514 3.99% 0.006
Min 176.5 3796.9 178.2 3783.5 -3.94% -0.012
Disposition Passed Passed

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AFA Korat Head FA Pareto — TK ODT Head relate

‘ih Airwalker Head related ODT DPPM a Muskie Plus Head related LODT DPPM
400 00
360 350
300 | =e 300 >
260 | & 20
& 200 |! 200
150 | 150 | |
100 100
: | it tHe A |
SSSRRERRRERRRRANRERRE RS $BRRRRRRRRRRRRSRARRRA
SPFRFEFFEEEFPEEEF EEF EF EEEEEEEEEREEEEEEEE EEE
eVerancs scar Ley soa et5050S ro oer weary “~ eversics soar a5 oa wesc tos -> ovr jatary ene
FW1217 — 134 DPPM (1x) ; smearing FW1217 — 267 DPPM (2x) ; KAG and HDI
contamination FW1219 — 160 DPPM (1x) ; KAG
FW1230 — 95 DPPM (1x) ; NPF FW1230 — 422 DPPM (3x) ; KAG (2x), transverse
FW1231 — 85 DPPM (1x) ; HDI hysteresis (1x)

FW1232 — 122 DPPM (1x) ; Asymmetry
FW1233 — 175 DPPM (1x) ; Asymmetry

+00 Pharaoh Head related ODT DPPM a Hepburn CE Head related ODT DPPM 200 - Grenada Head related ODT DPPM
700 + 700 4 700 +
600 + 600 600 +
is 500 - | 500 + 500 +
=| Ee is |
18 300 | || 300 § 300 | |
| 200 200 | 200 |
4 + 100 + 100 +
": | 1 | Bs i | lis of | i | |
EPP FFF FFF EF EE EEE EE? EEEREEREFEEPEPERERBEEEE EE EEEEEEEEEEEEEEEEEE FFE
oVecrace scorer ony tomer wsDG0s = eure wwrary ona eMenatca scan erg so =f re uF wwrary one Vararcs soar erg bora esc sos eo or wav we
FW1212 — 53 DPPM (1x) ; SAF/AFM FW1221 - 150 DPPM (2x); SAF/AFM FW1227 — 584 DPPM (1x) ; NPF
FW1216 — 150 DPPM (2x) ; HDI FW1223 — 55 DPPM (1x) ; HDI FW1229 — 138 DPPM (1x) ; NPF
FW1217 — 79 DPPM (1x) ; SAF/AFM FW1224 — 242 DPPM (1x) ; SAF/AFM FW1230 — 355 DPPM (3x) ; SAF/AFM
SAF/AFM

FW1233 — 212 DPPM (1x) ; SAF/AFM

[Or Fee ai 4
— - NEI. 4 Tere [8 Fel Cs) @

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ntial

(Seq Fad Pd
oepaew ne

31) Sed Ks
a2) hed Pd

433) Busterfy-ln See Pd
(34) Burterfy- Out cat Pd
(35) Bed Was

(42) Bod Wat /P d Butter
(43) S.nd Sus Butter
(44) Leq Pd Butter
(45) Complete (6T
(46) Butterf §-Out “Ko
(47) Bureert y-Our Rd
(40) De Lar Cys

Sample Size = 100/120
drives per week

(D4) Wear Seq Fwd Wie
(85)ieq Fad Pd

(06) Leg RevPd

(87) Bod Was

(oi Ped kd (49) Se O55 (83) Rod Pd

(37)S wrt (4T (D)ioq Fad Pd (89) Burtert yin Pd
a ads (Sl)leqPevPd (90) Butterf )- Our Pd
aoe (S2)L.ng Fad Wat (Wi Leg F,

(39) Ded Pd Sapa Fe ee peg

d
(33 \Saq Rev Uist (92) Ramp to 2S w/Ped Rd
(Bis Aasapte IC wiked Pd (8) Complete vact
Voltage Margining 56°C

(DD) tearSeq Fud Wa
(S1)Laq Fad Pd

440) Seq ct Butter 56°C
(41) Ded Pd Butter 45°C with Constant Voltage

(2)Seq Fad Woes
(3) 5000 CSS wil00 opt Pd
(4) Leg Find Pd
3 (Sr) Leg PewPd
(5) Lor Off /Pam p i wits Your Cys

= Common for ANESG Products 2s

ES ORT Functional Test He eC)
equenta! wih
* Buttedly mad

!
aC | + Sequential write 10% OD
| * Random wotte/read

faa 10% OD
* Buttedly read
. cae Idle

sequelae 10% OD
8 Witte

idle Modes A,B,C

(WiStwrt(6T

(14) Bed Ws

(15) 80d Pd

(16) sq uct Butter
(17) Sod Pd Butter

(62) Req ust Batter
(63) Bret Pd Butter
(64) Bod Wie / Pd Butter
(05) Sed Wass Butter

(75) Se CSS (Staggered Pd)
(76) L.0q Fd Pd

(Ti haqPevPd

(78) Hear teq Fad Wis

Cequsntas eotte 10% OD
die Modes A, 6, C

+ Buttedy White

- Sequential reverse read

i Sequential Read
' « Random Seek
TC TC | AC cyde
Volts I i ¢ Standby Idle
o ge rgning | + Sequential wite 10% OD
(6) Power Off Soak /Bar 6 ni 19) Bed Wus/P d Butter (35)5eq Fwd (63) Burterfly-in Soars Pd ' + Buttery Read
(7)Seq Fad Wes 192 Led iz batter (9) Lag Rev na (09) Barter ¥- Our Yat Red | * Sequential wite 10% OD
(BGreg Rev Wot (20) Leg Pd Butter (57) Bed Wat (70) Sand Weze ' « Buttery White
(S)Seq Fad Pd (21) Complete OST (30) Bed Pd (71) Bed Pd | + Sequential wite 10% OD
(W)Burteerfly-Our ss/Pd (22) Burtert h-in tie (3 Sart 6T (72) Burterf ly Our Ys 1 * Random Wate/re ad
eee, ‘= fq Feb (00) Boel Was (73) Burtert y= Out Pd | + Standby Idle
(12) Badd Res (21)50q (Ol) Bed Pd (74) Se CSS (Bed Pd) is
i

(66) Lag Pd Butter

(79) Pamp to 2S w/ Bed Pd/ 4s 2

Cos
x

AC e
Standby idle

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TS) omplete DoT

1 week of Thermal Cycling test with Voltage Margining

Or en Ai 2

VEN arA0h Pe

5 wks Steady State testing

ps7 Tele) @q@

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Failure Root
DVT Test Metrics Stressors Cause
PM/FL, SAF
ISI Transverse Field Stress * Kink / KAG, SMAN Field (polarity)
ISI Cross Track Field Stress * Amplitude, ASY, Kink, SMAN | Field Shield, PM
Amp, Asy, SMAN, FDG,
ISI Heater Stress * Bark_Jump, polarity reversal | Thermal SAF/AFM
ISI ESD Stress / CDM Res, Amp, Popcorn, SNR ESD Barrier, SAF/AFM
Pinning strength, TC hump,
ISI] HGA High Field * Shield and SAF saturation Stray field, Shield, SAF/AFM,
field, PM switching Super high field PM
Res, Amp, Asy, SMAN, Chemical
ISI Corrosion DVT Polarity corrosion AFM, PM, stack

Voltage + temp +

Vermit HGA Life DVT Res, Amplitude time Barrier

Spin-stand Stray Field Res, Amplitude, Asy, noise | Stray field Shield
Resistance, Amplitude, Asy, | Mechanic stress +

Spin-stand MIED DVT noise temp + time SAF (polarity)

er Tp Ai 2

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DVT Test

Stressors & Levels

Sample Size

ISI Transverse Field Stress

Field, 3,5kOe, 1.5T

10 bars/wafer x 2 wafers

ISI Cross Track Field Stress

Field, -5000e

10 bars/wafer x 2 wafers

IS! Heater Stress

Temp, 100 - 200C (heater power 20
mw — 80mW)

10 bars/wafer x 2 wafers

IS! ESD Stress / CDM

Voltage stress

10 bars/wafer x 2 wafers

IS! Corrosion DVT

Chemical corrosion

10 bars/wafer x 2 wafers

ISI HGA High Field transverse & x-track 15kOe, 3,5kOe | 20 HGA/wafer x 2 wafers
TCs and 200-5000e stray fields (ET passers)
Voltage (200-350mv) + 85C + 400
Vermit HGA Life DVT hours 128 HGAs (ET sort 6 and up)
Spin-stand Stray Field Stray fields 0-5000e 20 HGA/wafer x 2 wafers
Spin-stand MIED DVT L/UL + interference 90 HGA/wafer x 2 wafers

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